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     Ross Cornell, Esq. (SBN 210413)
 1   LAW OFFICES OF ROSS CORNELL, APC
 2
     Email: rc@rosscornelllaw.com
     5042 Wilshire Blvd., #46382
 3   Los Angeles, CA 90036
     Phone: (562) 612-1708
 4   Fax: (562) 394-9556
 5   Attorneys of Record for Plaintiff,
 6
     Bryan Estrada

 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   Bryan Estrada,                                   Case No. 5:20-cv-2078
11
                      Plaintiff,                      COMPLAINT
12

13
                      v.
14

15   Corona Pawn Shop; Timothy G. Naumis;
     Michelle D. Sedgwick-Naumis and Does 1-
16   10, inclusive,
17
                      Defendants.
18

19
           Plaintiff, Bryan Estrada, hereby complains and alleges as follows:
20

21
                                   NATURE OF THE ACTION
22
                  1. This is an action seeking to remedy unlawful discrimination by
23
     the Defendants against the Plaintiff in the Defendants’ places of public
24

25
     accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
26   12101, et seq.] (the “ADA”) and the Unruh Civil Rights Act [California Civil Code
27   § 51, et seq.] (the “Unruh Act”).
28                                          -1-
                                          COMPLAINT
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 1

 2                                         PARTIES
 3                2. Plaintiff, Bryan Estrada, is a resident of the state of California
 4   who requires the use of a wheelchair for mobility purposes and who is therefore a
 5   “person with a disability” within the meaning of the ADA and Cal. Government
 6   Code § 12926.
 7
                  3. The Defendants (defined below) discriminated against
 8
     Plaintiff in the full and equal enjoyment of the goods, services, facilities,
 9
     privileges, advantages, or accommodations on the basis of Plaintiff’s disability at
10
     the Subject Property (defined below) in violation of the ADA [42 U.S.C. §§
11
     12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
12
                  4. The Defendant’s failure to make reasonable modifications in
13

14
     policies, practices, or procedures when such modifications are necessary to afford

15   goods, services, facilities, privileges, advantages, or accommodations to
16   individuals with disabilities prevented Plaintiff from enjoying fair and equal access
17   to the Subject Property (defined below) in violation of the ADA [42 U.S.C. §
18   12182(b)(2)(A)(ii)].
19                5. Defendant, Corona Pawn Shop, owns, operates, or leases
20   real property located at 1032 E 6th St., Corona, CA 92879, also known as
21
     Riverside County Assessor’s Parcel No. 117-320-011(the “Subject Property”).
22
                  6. Defendant, Timothy G. Naumis, owns, operates, or leases
23
     real property located at 1032 E 6th St., Corona, CA 92879, also known as
24
     Riverside County Assessor’s Parcel No. 117-320-011(the “Subject Property”).
25
                  7. Defendant, Michelle D. Sedgwick-Naumis, owns, operates, or
26

27

28                                            -2-
                                            COMPLAINT
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 1
     leases real property located at 1032 E 6th St., Corona, CA 92879, also known as
 2   Riverside County Assessor’s Parcel No. 117-320-011(the “Subject Property”).
 3                 8. The Subject Property is a commercial facility open to the general
 4   public, is a public accommodation, and is a business establishment insofar as
 5   goods and/or services are made available to the general public thereat. Defendant
 6   Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
 7
     names and capacities are unknown to the Plaintiff. When their true names and
 8
     capacities are ascertained, Plaintiff will amend this complaint by inserting their
 9
     true names and capacities herein. Plaintiff is informed and believes and thereon
10
     alleges that each of the fictitiously named Defendants are responsible in some
11
     manner for the occurrences herein alleged, and that the harm to Plaintiff herein
12
     alleged were proximately caused by those Defendants.
13

14

15                              JURISDICTION AND VENUE
16                 9.   This Court has jurisdiction over the subject matter of this action
17   pursuant 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4) for
18   violations of the ADA.
19                 10. This Court has supplemental jurisdiction over the state law
20   claims alleged herein under the Unruh Act because the state law claim is an
21
     attendant and related cause of action that arises from the same nucleus of operative
22
     facts and arising out of the same transaction or occurrence as the federal law
23
     claims set forth herein.
24
                   11. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
25
     based on the fact that the real property that is the subject of this action is located in
26
     this district and the Plaintiff’s causes of action arose in this district.
27

28                                             -3-
                                             COMPLAINT
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 1
                                 STATEMENT OF FACTS
 2                12. Parking spaces, accessible aisles, paths of travel, signage,
 3   doorways, service counters, customer areas and goods/services are among the
 4   facilities, privileges and advantages offered by the Defendants to patrons of the
 5   Subject Property.
 6                13.    The Subject Property does not comply with the minimum
 7
     requirements of the ADA and is therefore not equally accessible to Plaintiff or
 8
     similarly situated persons with mobility disabilities.
 9
                  14.    In June, 2020 and continuously from that time to the
10
     Present, and currently, the Subject Property has not been in compliance with the
11
     ADA (the “Barriers”):
12
                         A.    The Subject Property lacks the minimum required
13

14
     number of ADA compliant accessible parking spaces.

15                       B.    There was no diagonal striped marking and no blue
16   border around where an access aisle is supposed to exist adjacent to any designated
17   accessible parking space(s) serving the Subject Property.
18                       C.    The designated “accessible” parking space(s) and/or blue
19   striped access aisles provided at the Subject Property are smaller than permitted by
20   the ADA.
21
                         D.    The designated “accessible” parking spaces at the Subject
22
     Property do not provide accessible parking signage as required by the ADA.
23
     Among other things, they fail toprovide tow-away signage and “Minimum Fine
24
     $250” signage as required by the ADA and state law to beposted near the
25
     designated accessible parking space(s).
26

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28                                           -4-
                                           COMPLAINT
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 1
                         E.    The designated “accessible” parking spaces at the Subject
 2   Property do not provide the universal symbol of accessibility.
 3                       F.    There is no twelve-inch high “NO PARKING” lettering
 4   on the blue-striped parking accessaisle(s) serving the Subject Property.
 5                       G.    There was no designated “van accessible” parking space
 6   with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
 7
     going forward into the parking space and no sign or additional language stating
 8
     “Van Accessible” below the symbol of accessibility located in a manner that is not
 9
     obstructed.
10
                         H.    The parking spaces designated as “accessible” at the
11
     Subject Property do not have blue-striped parking access aisles adjacent to them
12
     and are not at the same level as the parking spacesthey serve.
13

14
                         I.    Accessible paths of travel serving the Subject Property

15   contain changes in level greater than ½ inch (13mm) with no compliant curb cuts
16   or curb ramps.
17                       J.    There were no accessible paths of travel from public
18   transportations stops, accessible parking, public streets and sidewalks to the
19   building entrances serving the Subject Property.
20                 15.   Plaintiff personally encountered one or more of the Barriers
21
     at the Subject Property in June, 2020.
22
                   16.   From June, 2020 to the present, the Plaintiff has been
23
     deterred from the Subject Property because of his knowledge of the existence of
24
     Barriers.
25
                   17.   The existence of Barriers, the implementation of discriminatory
26

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28                                           -5-
                                           COMPLAINT
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 1
     policies, practices and procedures, and other ADA violations at the Subject
 2   Property caused Plaintiff difficulty, discomfort or embarrassment or reasonably
 3   dissuaded or deterred Plaintiff from accessing the Subject Property on particular
 4   occasions between June, 2020 and the present.
 5                18.   Plaintiff would like to return and patronize the Subject Property
 6   and use the business establishments thereat and intends to do so in the near future
 7
     but will be deterred from doing so until all ADA violations are remediated.
 8
                  19.   On information and belief, the remediation of violations
 9
     identified hereinabove, to be identified by the Defendants in discovery, and to be
10
     discovered by Plaintiff’s experts are all readily achievable in that the removal of
11
     them by the Defendants is and has been easily accomplishable without much
12
     difficulty or expense.
13

14
                  20.   Defendants violated the ADA by failing to remove all mobility-

15   related architectural barriers at the Subject Property. On information and belief,
16   Plaintiff alleges that the failure to remove barriers has been knowing, willful and
17   intentional because the barriers described herein are clearly visible and tend to be
18   obvious even to a casual observer and because the Defendants operate the Subject
19   Property and have control over conditions thereat and as such they have, and have
20   had, the means and ability to make the necessary remediation of access barriers if
21
     they had ever so intended.
22
                  21.   On information and belief, access barriers at the Subject
23
     Property are being consciously ignored by the Defendants; the Defendants have
24
     knowingly disregarded the ongoing duty to remove the Barriers in compliance with
25
     the ADA. Plaintiff further alleges on information and belief that there are other
26
     ADA violations and unlawful architectural barriers at the Subject Property that
27

28                                           -6-
                                           COMPLAINT
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 1
     relate to Plaintiff’s mobility disability that will be determined in discovery, the
 2   remediation of which is required under the ADA.
 3                22.    Plaintiff hereby seeks to remediate and remove all barriers
 4   related to his disability, whether presently known or unknown. As the court held
 5   in Doran v. 7-11. Inc., 506 F.3d 1191 (9th Cir. 2008):
 6         “[W]here a disabled person has Article III standing to bring a claim for
 7         injunctive relief under the ADA because of at least one alleged statutory
           violation of which he or she has knowledge and which deters access to, or
 8
           full use and enjoyment of, a place of public accommodation, he or she may
 9         conduct discovery to determine what, if any, other barriers affecting his or
10
           her disability existed at the time he or she brought the claim. This list of
           barriers would then in total constitute the factual underpinnings of a single
11         legal injury, namely, the failure to remove architectural barriers in violation
12         of the ADA, which failure actually harmed the disabled person by deterring
           that disabled person from visiting a facility that otherwise would have been
13
           visited at a definite future time, yielding Article III standing.”
14

15                23.    Even if strictly compliant barrier removal were determined to
16   be structurally or otherwise impracticable, there are many alternative methods of
17   providing accommodations that are readily apparent and that could provide a
18   greater degree of accessibility to the Plaintiff and similarly situated persons but for
19   the Defendants’ discriminatory policies, practices and procedures and Defendants’
20   conscious indifference to their legal obligations and to the rights of persons with
21
     mobility disabilities. Defendants’ failure to implement reasonable available
22
     alternative methods of providing access violates the ADA [42 U.S.C. §
23
     12182(b)(2)(A)(v)].
24
                  24.    The violations and references to code sections herein are not
25
     all-inclusive. Plaintiff will amend this complaint to provide a complete description
26
     of the full scope of ADA violations after conducting a comprehensive expert site
27

28                                            -7-
                                            COMPLAINT
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 1
     inspection and other discovery. For the purposes of this Complaint, Plaintiff
 2   asserts that the barriers alleged herein violate one or more of the ADA’s
 3   implementing regulations. The Defendants have maintained and continue to
 4   maintain discriminatory policies, procedures and practices that disregard their
 5   obligations under the ADA by allocating resources for physical improvements to
 6   the Subject Property that were did not provide legally required accessibility
 7
     improvements, by failing to conduct ADA self-inspections or create ADA
 8
     compliance plans regarding the Subject Property, by causing alterations to be made
 9
     to the Subject Property in disregard of ADA requirements, and for failing and
10
     refusing to make necessary accommodations for persons with mobility disabilities
11
     at the Subject Property. Plaintiff seeks a declaration that the Defendants’ disability
12
     rights compliance policies, procedures and practices are discriminatory and violate
13

14
     the ADA.

15                             FIRST CAUSE OF ACTION
                              Discrimination Based on Disability
16
                                 [42 U.S.C. §§ 12101, et seq.]
17                            By Plaintiff against all Defendants
18

19
                  25.    Plaintiff re-alleges and incorporates by reference as though
20   fully set forth herein the allegations contained in all prior paragraphs of this
21   complaint.
22                26.    The ADA obligates owners, operators, lessees and lessors of
23   public accommodations to ensure that the privileges, advantages, accommodations,
24   facilities, goods and services are offered fully and equally to persons with
25
     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
26
     12182(a)].
27
                  27.    Discrimination is defined in the ADA, inter alia, as follows:
28                                            -8-
                                            COMPLAINT
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 1
                         A.    A failure to remove architectural barriers where such
 2   removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
 3   barriers are identified and described in the Americans with Disabilities Act
 4   Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
 5                       B.    A failure to make alterations in such a manner that, to the
 6   maximum extent feasible, the altered portions of the facility are readily accessible
 7
     to and usable by individuals with disabilities, including individuals who use
 8
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
 9
     the altered area and the bathrooms, telephones, and drinking fountains serving the
10
     altered area, are readily accessible to and usable by individuals with disabilities [42
11
     U.S.C. § 12183(a)(2)].
12
                         C.    Where an entity can demonstrate that the removal of a
13

14
     barrier is not readily achievable, a failure to make such goods, services, facilities,

15   privileges, advantages, or accommodations available through alternative methods
16   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
17                       D.    A failure to make reasonable modifications in
18   policies, practices, or procedures, when such modifications are necessary to afford
19   such goods, services, facilities, privileges, advantages, or accommodations to
20   individuals with disabilities, unless the entity can demonstrate that making such
21
     modifications would fundamentally alter the nature of such goods, services,
22
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
23
     12182(b)(2)(A)(ii)].
24
                  28.    The ADA, the ADAAG’s 1991 Standards (the “1991
25
     Standards”) and 2010 Standards (the “2010 Standards”), and the California
26
     Building Code (the “CBC”) contain minimum standards that constitute legal
27

28                                           -9-
                                           COMPLAINT
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 1
     requirements regarding wheelchair accessibility at places of public
 2   accommodation:
 3                      A.    If parking spaces are provided for self-parking by
 4   employees or visitors, or both, then the subject property must provide at least the
 5   minimum required number of accessible parking spaces.Accessible parking
 6   spaces must be marked to define their width and must have an adjacent ADA
 7
     compliant access aisle. Accessible parking spaces must be at least 96 inches wide
 8
     and van parking spaces must be at least 132 inches wide except that van parking
 9
     spaces can be 96 inches wide where the access aisle is not less than 96 inches
10
     wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
11
     Subject Property does not comply with the ADA.
12
                        B.    To qualify as a reserved handicap parking space, the
13

14
     space must be properly marked and designated. Under the ADA, the method,

15   color of marking and length of the parking space are to be addressed by state or
16   local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
17   and 503].
18                      C.    To properly and effectively reserve a parking space for
19   persons with disabilities, each parking space must be at least 216 inches in length
20   [CBC § 11B-502.2].
21
                        D.    Each parking space reserved for persons with disabilities
22
     shall be identified by a reflectorized sign permanently posted immediately
23
     adjacent to and visible from each stall or space, consisting of the International
24
     Symbol of Accessibility in white on a dark blue background. The sign shall not be
25
     smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
26
     shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
27

28                                          -10-
                                          COMPLAINT
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 1
     the sign to the parking space finished grade. Signs may also be centered on the
 2   wall at the interior end of the parking space. An additional sign or additional
 3   language below the symbol of accessibility shall state "Minimum Fine $250"
 4   [2010 Standards § 502.6; CBC § 1129B.4].
 5                     E.     Signs identifying accessible parking spacesmust include
 6   the International Symbol of Accessibility [2010 Standards §§ 502.6].
 7
                       F.     To properly and effectively reserve a parking space for
 8
     persons with disabilities, the surface of the access aisle must have a blue
 9
     border; the words “NO PARKING” in letters at least a foot high must be
10
     painted on the access aisle [CBC § 1129B.3].
11
                       G.     One in every eight accessible spaces, but not less than
12
     one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
13

14
     wide minimum placed on the side opposite the driver’s side when the vehicle is

15   going forward into the parking space and shall be designated van accessible. Van
16   accessible spaces must have an additional sign or additional language stating "Van
17   Accessible" below the symbol of accessibility. Signs identifying accessible
18   parking spaces must be located so they cannot be obscured by a vehicle parked in
19   the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
20   and B4].
21
                       H.     Parking access aisles shall connect to accessible
22
     parking spaces and be part of an accessible route to the building or facility
23
     entrance and must be at the same level as the parking spaces they serve
24
     [1991 Standards § 4.6.3; 2010 Standards §§ 502.3 and 502.4].
25
                       I.     Changes in levels along an accessible route greater
26

27

28                                          -11-
                                          COMPLAINT
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 1
     than 1/2 in (13 mm) require the provision of a curb ramp, ramp, elevator, or
 2   platform lift [1991 Standards § 4.3.8; 2010 Standards §§ 303.4, 405, and
 3   406].
 4                     J.    At least one accessible route must be provided from
 5   public transportation stops, accessible parking, and accessible passenger
 6   loading zones, and public streets or sidewalks to the accessible building
 7
     entrance they serve. The accessible route must, to the maximum extent
 8
     feasible, coincide with the route for the general public, must connect
 9
     accessible buildings, facilities, elements, and spaces that are on the same
10
     site, and at least one accessible route must connect accessible building or
11
     facility entrances with all accessible spaces and elements and with all
12
     accessible dwelling units within the building or facility [1991 Standards
13

14
     §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].

15               29.   The Defendants have failed to comply with minimum
16   ADA standards and have discriminated against Plaintiff on the basis of
17   Plaintiff’s mobility disability. Each of the barriers and accessibility
18   violations set forth above is readily achievable to remove, is the result of an
19   alteration that was completed without meeting minimum ADA standards,
20   or could be easily remediated by implementation of one or more available
21
     alternative accommodations. Accordingly, the Defendants have violated
22
     the ADA.
23
                 30.   The Defendants are obligated to maintain in operable
24
     working condition those features of the Subject Property’s facilities and
25
     equipment that are required to be readily accessible to and usable by
26
     Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
27

28                                        -12-
                                        COMPLAINT
29

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 1
     36.211(a)]. The Defendants failure to ensure that accessible facilities at the
 2   Subject Property were available and ready to be used by the Plaintiff
 3   violates the ADA.
 4               31.    The Defendants have a duty to remove architectural
 5   barriers where readily achievable, to make alterations that are consistent
 6   with minimum ADA standards and to provide alternative accommodations
 7
     where necessary to provide wheelchair access. The Defendants benign
 8
     neglect of these duties, together with their general apathy and indifference
 9
     towards persons with disabilities, violates the ADA.
10
                 32.    The Defendants have an obligation to maintain policies,
11
     practices and procedures that do not discriminate against the Plaintiff and
12
     similarly situated persons with mobility disabilities on the basis of their
13

14
     disabilities. The Defendants have maintained and continue to maintain a policy of

15   disregarding their obligations under the ADA, of allocating resources for
16   improvements insufficient to satisfy legal requirements regarding accessibility
17   improvements, of failing to conduct ADA self-inspections or create ADA
18   compliance plans, of causing alterations to be made to the Subject Property in
19   disregard of ADA requirements, and of failing and refusing to make necessary
20   accommodations for persons with mobility disabilities at the Subject Property, in
21
     violation of the ADA.
22
                 33.    The Defendants wrongful conduct is continuing in that
23
     Defendants continue to deny full, fair and equal access to their business
24
     establishment and full, fair and equal accommodations, advantages,
25
     facilities, privileges and services to Plaintiff as a disabled person due to
26
     Plaintiff’s disability. The foregoing conduct constitutes unlawful
27

28                                          -13-
                                          COMPLAINT
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 1
     discrimination against the Plaintiff and other mobility disabled persons
 2   who, like the Plaintiff, will benefit from an order that the Defendants
 3   remove barriers and improve access by complying with minimum ADA
 4   standards.
 5                            SECOND CAUSE OF ACTION
 6                            Violations of the Unruh Rights Act
                                [Cal.Civil Code§ 51, et seq.]
 7
                              By Plaintiff against all Defendants
 8

 9                34.    Plaintiff re-alleges and incorporates by reference as though
10   fully set forth herein the allegations contained in all prior paragraphs of this
11   complaint.
12
                  35.    The foregoing violations of the ADA constitute per se
13
     violations of the Unruh Act [Cal.Civil Code§ 51(f)].
14
                  36.    Plaintiff personally encountered Barriers at the Subject
15
     Property and has experienced, difficulty, discomfort or embarrassment or
16
     has been reasonably dissuaded or deterred from accessing the Subject
17
     Property on particular occasions due to ADA violations which would have
18

19
     actually denied Plaintiff full and equal access if he had attempted to access
20   the Subject Property on those particular occasions.
21                37.    Due to the unlawful discrimination set forth above,
22   Plaintiff has been denied the right and entitlement to full and equal
23   accommodations, advantages, facilities, privileges or services by the
24   Defendants at the Subject Property in violation of the Unruh Act.
25

26
                                 PRAYER FOR RELIEF
27

28                                            -14-
                                            COMPLAINT
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 1
           Plaintiff prays to this Court for injunctive, declaratory and all other
 2   appropriate relief under the ADA and the Unruh Act, including but not
 3   limited to reasonable attorney’s fees, litigation expenses and costs of suit
 4   pursuant to 42 U.S.C. § 12205 and Cal. Civil Code § 52.
 5         Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
 6         not seek injunctive relief under the Disabled Persons Act at all.
 7   Respectfully submitted,
 8
     Dated: 10/06/2020     LAW OFFICES OF ROSS CORNELL, APC
 9

10

11                                 By: /s/ Ross Cornell
                                       Ross Cornell, Esq.,
12
                                       Attorneys for Plaintiff,
13                                     Bryan Estrada
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28                                        -15-
                                        COMPLAINT
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